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Case 1:03-cr-00047-JPB-JPM Document 513 Filed 06/02/20 Page 14 of 14 PageID #: 4010




                           CERTIIFIICATE OF SERV~CE




   I, Kofie A. Jones Sr. hereby certify on the ____day of MCLU\ 20 2~,
   deposited a copy of my 3582 Motion along with supporting ~cuments to
   US District Court Northern District of West Virginia in US mail addressed to
   Honorable Judge Stamp I 125 Chapline Street PC Box 791 Wheeling, WV
   26003.




   ~                                           Date:   ~LL\   ~~

   Kofie Akiem Jones Sr.
   FCI Manchester
   PC Box 4000
   Manchester, KY 40926
